Case 1:17-cv-02362-KBF Document 94 Filed 03/22/18 Page 1of1
Case 1:17-cv-02362-KBF Document 91 Filed 03/20/18 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORI.

 

KOMANDA LLC,

Plaintiff, Case No.: 17-cv-2362 (KBF)

¥.
NOTICE OF VOLUNTARY

KARTINA CANADA INC.; ONLINE ETHNIC DISMISSAL WITHOUT
TV SERVICES, INC.; NASH DOM, INC; and PREJUDICE PURSUANT TO
‘JOHN DOES i through 10, FED. R. CIV. P. 41(a)(L(Ay)

Defendants.

 

 

Pursuant to Rule 41(a)(1)A)Ci) of the Federal Rules of Civil Procedure, Plaintiff
Komanda LLC, by and through its counsel, hereby gives notice that the above-captioned action
is voluntarily dismissed without prejudice against Defendants Kartina Canada Inc., Online
Ethnic TV Services, Inc., Nash Dom, Inc., and John Does 1 through 10.

This notice of dismissal is being filed with the Court before service by any Defendant of

either an answer or a motion for summary judgment.

Dated: March 20, 2018
Respectfully submitted,

LEWIS BAACH KAUFMANN MIDDLEMISS PLLC

By: __/s David G. Liston

Se a Gen David G. Liston

Ronald Abramson
Anthony M. Capozzolo
(c & . pa Alex G. Patchen
_ Ari J. Jaffess
wl OS The Chrysler Building
405 Lexington Avenue, 62nd Floor
New York, NY 10174

4 [>> cy Tel: (212) 826-7001
Attorneys for Plaintiff, Komanda LLC

 
